Case 8:17-cv-00432-AG-DFM Document 35 Filed 10/02/17 Page 1 of 5 Page ID #:493




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.      SACV 17-00432 AG (JCGx)                                 Date   October 2, 2017
  Title         BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.




  Present: The Honorable       ANDREW J. GUILFORD
            Lisa Bredahl                             Not Present
            Deputy Clerk                      Court Reporter / Recorder               Tape No.
          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


  Proceedings:       [IN CHAMBERS] ORDER GRANTING DEFENDANTS’
                     MOTION TO DISMISS WITH LEAVE

 Most of the parties in this case have been in litigation with each other for many years already.
 In 2012, Yishun Chen and Zhaosheng Chen sued several defendants, including Brian
 Horowtiz, in state court to determine the ownership of certain patents and allege some other
 claims, like fraud and conversion. A few months before the state court trial was to begin,
 Brian Horowitz and Creative Outdoor Distributors USA, Inc. (“Plaintiffs” here) sued Yishun
 Chen and Zhaosheng Chen (“Defendants” here) in this Court, purporting to allege claims
 for, among others, patent infringement, intentional interference with contract, and negligent
 misrepresentation. Defendants move to stay the case pending the state court proceedings,
 and to dismiss two of Plaintiffs’ claims.

 The Court now GRANTS Defendants’ motion to dismiss Plaintiffs’ claims WITH LEAVE
 TO AMEND, and DENIES Defendants’ motion to stay. (Dkt. No. 18.)

 1. BRIEF BACKGROUND

 The parties have been arguing over patents related to folding wagons for nearly five
 years—since December 2012, when Defendants here filed a lawsuit against one of the
 Plaintiffs and some other parties in state court. Starting in November 2016, Defendants
 started sending patent infringement notices to entities that sold and manufactured Plaintiffs’
                                              CIVIL MINUTES - GENERAL
                                                      Page 1 of 5
Case 8:17-cv-00432-AG-DFM Document 35 Filed 10/02/17 Page 2 of 5 Page ID #:494




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
  Case No.      SACV 17-00432 AG (JCGx)                             Date    October 2, 2017
  Title         BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.

 folding wagon. Defendants sent the notice to a company where Plaintiff Horowitz had
 granted a “written license to manufacture and sell,” Ollieroo, and to companies where
 Plaintiff Creative sells the folding wagon, such as Amazon, eBay, and other online
 marketplaces (the complaint refers to all these platforms as the “online retailers”), or other
 distributors.

 About five months before the beginning of the state court trial, Plaintiffs brought this action
 in state court. The parties met and conferred in May 2017, and Plaintiffs reduced their
 complaint to the nine claims it currently lists. Since this apparently didn’t resolve the parties’
 disagreement, Defendants filed this motion to dismiss two more claims, and to stay this case
 because of the state court proceedings. The state court trial has now ended.

 2. LEGAL STANDARD

 Federal Rule of Civil Procedure 8(a)(2) asks for “a short plain statement of the claim showing
 that the pleader is entitled to relief.” With that liberal pleading standard, the well-established
 purpose of a motion to dismiss under Rule 12(b)(6) is “to test the formal sufficiency of the
 statement of the claim to relief.” 5B C. Wright & A. Miller, Federal Practice and Procedure §
 1356, p. 354 (3d ed. 2004). “[D]etailed factual allegations” aren’t necessary at this early stage,
 but “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
 statements” just won’t cut it. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation
 marks omitted). And, of course, it’s well-settled that courts must assume that “all the
 allegations in the complaint are true (even if doubtful in fact).” See Bell Atlantic Corp. v.
 Twombly, 550 U.S. 544, 555 (2007). Moreover, “[i]n alleging fraud or mistake, a party must
 state with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b).

 3. ANALYSIS

          3.1 Intentional Interference with Contract

 “The elements which a plaintiff must plead to state the cause of action for intentional
 interference with contractual relations are (1) a valid contract between plaintiff and a third
 party; (2) defendant's knowledge of this contract; (3) defendant's intentional acts designed to
                                          CIVIL MINUTES - GENERAL
                                                  Page 2 of 5
Case 8:17-cv-00432-AG-DFM Document 35 Filed 10/02/17 Page 3 of 5 Page ID #:495




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
  Case No.     SACV 17-00432 AG (JCGx)                              Date    October 2, 2017
  Title        BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.

 induce a breach or disruption of the contractual relationship; (4) actual breach or disruption
 of the contractual relationship; and (5) resulting damage.” Pac. Gas & Elec. Co. v. Bear Stearns
 & Co., 50 Cal. 3d 1118, 1126 (1990). Here, Plaintiffs haven’t pled enough facts to allege a
 claim of intentional interference with contract because they haven’t pled enough facts to
 show a contract. All the complaint says is that Plaintiff Horowitz granted Ollieroo a license
 to manufacture and sell and that Plaintiff Creative sells the folding wagon, directly or
 indirectly, through the online retailers and distributors. (Dkt. No. 17 at ¶¶ 18–20.) Those
 allegations aren’t enough to plausibly allege that Plaintiffs had valid contracts with these third
 parties when Defendants were sending their infringement notices. For example, it’s not clear
 whether Plaintiffs had installment contracts with these parties; or whether the contracts
 provided that Plaintiffs’ payment would be contingent upon the third parties’ sale; or
 whether any contracts between the parties had terminated but Plaintiffs were concerned
 about their ability to enter into future contracts with the third parties; etc.

 The Court finds unpersuasive Plaintiffs’ argument that the Court shouldn’t dismiss their
 claim because their allegations could show they are entitled to relief under a different claim.
 Even if Plaintiffs were correct and they had stated enough facts for another claim, their
 present claim should be dismissed and the complaint amended. Plaintiffs’ cited authorities do
 not convince the court otherwise. For example, one concerns a cases where the plaintiff had
 sufficiently pled its claim but may have pled the improper relief. See Channell Commercial Corp.
 v. Wilmington Mach., Inc., No. EDCV 14-02240 DMG (DTBx), 2015 WL 12911615, at *5
 (C.D. Cal. Apr. 28, 2015). Another pre-dates Twombly and Iqbal and applies the improper
 pleading standards. See United States v. Howell, 318 F.2d 162, 166 (9th Cir. 1963). The Court
 therefore finds Plaintiffs may only allege a different claim if they amend their complaint.

          3.2 Negligent Misrepresentation

 Defendants argue that Plaintiffs’ claim for negligent misrepresentation must be dismissed
 because they allege misrepresentations were made to third parties rather than Plaintiffs
 themselves. “ The elements of negligent misrepresentation are that (1) a representation of
 material fact was made, (2) the representation was false, (3) the defendant made the
 representation without reasonable grounds for believing it to be true, (4) the representation
 was intended to induce the defendant to take some action in reliance upon it, (5) the plaintiff
                                          CIVIL MINUTES - GENERAL
                                                  Page 3 of 5
Case 8:17-cv-00432-AG-DFM Document 35 Filed 10/02/17 Page 4 of 5 Page ID #:496




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                                CIVIL MINUTES - GENERAL
  Case No.      SACV 17-00432 AG (JCGx)                               Date    October 2, 2017
  Title         BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.

 reasonably relied upon the truth of the representation, and (6) the plaintiff sustained damage
 as a result of that reliance.” B.L.M. v. Sabo & Deitsch, 55 Cal. App. 4th 823, 843 (1997).
 Plaintiffs argue that no authority clearly establishes that the misrepresentation can only be
 made to plaintiffs or that it’s only plaintiffs’ reliance that matters. But Plaintiffs are incorrect.
 “One who willfully deceives another with intent to induce him to alter his position to his
 injury or risk, is liable for any damage which he thereby suffers.” Cal. Civ. Code § 1709. Just
 because Plaintiffs can cite cases that don’t specifically references “plaintiffs” doesn’t change
 the elements for a claim of negligent misrepresentation. Therefore, this claim is dismissed as
 well.

          3.3 Stay

 At the end of August, Defendants’ filed a notice stating that a stay “pending completion of
 the State Court Trial on that case is no longer necessary and is moot.” (Dkt. No. 26.)
 Defendants nonetheless requested an additional stay “until such time as the Statement of
 Decision is rendered in the State Court Action, which should be issued within the next few
 weeks time.” (Id.) What part exactly of their own motion Defendants asserted was moot is
 unclear. But at any rate, federal law controls Plaintiffs’ claims 1–4. As the Court is dismissing
 claims 8 and 9, leaving only three claims that aren’t governed by federal law. What’s more,
 since the judgment from the state court proceedings “should be issued within the next few
 weeks time,” the state court proceedings will conclude before this case makes progress and
 granting the stay would likely only lead to more unnecessary motions. Therefore considering
 the eight factors from Colorado River and its progeny, and mindful that the balance is
 “heavily weighted in favor of the exercise of jurisdiction,” the Court declines to issue a stay
 of this case. See Seneca Ins. Co., Inc. v. Strange Land, Inc., 862 F.3d 835, 842 (9th Cir. 2017)
 (citing Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 16 (1983)).

 4. DISPOSITION

 The Court now GRANTS Defendants’ motion to dismiss Plaintiffs’ claims WITH LEAVE
 TO AMEND, but DENIES Defendants’ motion to stay WITH LEAVE. (Dkt. No. 18.)


                                            CIVIL MINUTES - GENERAL
                                                    Page 4 of 5
Case 8:17-cv-00432-AG-DFM Document 35 Filed 10/02/17 Page 5 of 5 Page ID #:497




                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA


                         CIVIL MINUTES - GENERAL
  Case No.   SACV 17-00432 AG (JCGx)                       Date   October 2, 2017
  Title      BRIAN HOROWITZ ET AL. v. YISHUN CHEN ET AL.

                                                                              :     0
                                             Initials of          lmb
                                             Preparer




                                 CIVIL MINUTES - GENERAL
                                         Page 5 of 5
